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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                   Plaintiff,                          Case No. 5:21-cv-00056-LGW-BWC

       v.

NBCUNIVERSAL MEDIA, LLC,

                   Defendant.

            STIPULATION OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(ii)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the plaintiff, Dr. Mahendra

Amin, M.D., and the defendant, NBCUniversal Media, LLC, hereby stipulate to the dismissal of

this action with prejudice.

       Respectfully submitted this 4th day of April 2025.


 /s/ J. Amble Johnson                            /s/ Elizabeth A. McNamara*
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 Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby state that I electronically filed the foregoing STIPULATION OF DISMISSAL

PURSUANT TO RULE 41(a)(1)(A)(ii) with the Clerk of Court using the CM/ECF system, which

will automatically send email notifications of such filing to the attorneys of record.

       This 4th day of April 2025.


                                              /s/ J. Amble Johnson
                                              J. Amble Johnson
                                              Counsel for Plaintiff
